Case 1:02-cr-20450-WMH Document 1 Entered on FLSD Docket 05/22/2002 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Q,2,- 20 4 5 OGR-HOEYE: =

18 U.S.C. § 3146(a)(1)

18 U.S.C. § 2
MAGISTRATE Tepas
Orne
UNITED STATES OF AMERICA
v.
WILLIAM MORAN ee NS
/ Cn es OO
wa — !
- “si
INFORMATION
The United States Attorney charges that: nS =
Count 1 Zz
On or about July 17, 1998, at Miami-Dade County, in the Southern District of Florida, the
defendant,

WILLIAM MORAN,
having previously been charged with violations of Title 18, United States Code, Sections 1962(d)
and 1956(h), that is, conspiracy to violate RICO and conspiracy to commit money laundering,
offenses both punishable by twenty years’ imprisonment and having been released by the United
States District Court for the Southern District of Florida pursuant to Chapter 207 of Title 18, United

States Code, in United States v. Miguel Rodriguez-Orejuela, et. al., Case No. 93-470-CR-Hoeveler,

did knowingly fail to appear before said Court as required by the conditions of his release, in that
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the defendant failed to appear for trial as ordered on or about June 7, 1995, by said Court, in

violation of Title 18, United States Code, Sections 3146(a)(1) and 2.

UNITED $

GUY A. LEWIS ey

EDWARD RRYAN 7 /
ASSISTANT UNITEP STATES ATTORNEY
Case 1:02-cr-20450-WMH Document 1 Entered on FLSD Docket 05/22/2002 Page 3 of 4

UNITED STATES DISTRICT CO
"39'S OOR-HOEC! 2
UNITED STATES OF AMERI NO.
V.

CERTIFICATE OF TRIAL ATTORNEY*
Superseding Case InformatioMAGISTRATE JUDGE

W1i1 IAM MORAN

Court Division: (select one) New Defendant(s) Yes __ PRRE__
Number of New Defendants —__
-—X_ Miami -_ Key West Total number of counts —___
— FTL — WPB___ FTP
| do hereby certify that:
1. | have carefully considered the allegations of the indictment, the number of defendants,

the number of probable witnesses and the legal complexities of the Indictment/Information
attached hereto.

2. | am aware that the information supplied on this statement will be relied upon by the
Judges of this Court in setting their calendars and scheduling criminal trials under the
mandate of the Speedy Trial Act, Title 28 U.S.C. Section 3161.

3. Interpreter: Yes or No) No
List language and/or dialect .

we Qe
4. This case will take 3 days for the parties to try. or” ~ 5
On
5. Please check appropriate category and type of offense listed below: A =
(Check only one) (Check only one) SToem _— \
\
0 to 5days _ xX Petty a
I 6 to 10 days —_—____ Minor —__. 2
itl 11 to 20 days —__ Misdem. —__... _
IV 21 to 60 days —_ Felony —xX
V 61 days and over eat
6. Has this case been previously filed in this District Court? (Yes or No) —No-
yes:
Judge: Case No.

(Attach copy of dispositive order)

Has a complaint been filed in this matter? (Yes or No) No

If yes:

Magistrate Case No.

Related Miscellaneous numbers: —93-470-CR-Hoeveler

Defendants} in federal custody as of

Defendant(s) in state custody as of

Rule 20 from the District of

Is this a potential death penalty case? (Yes or No) No

7. Does this case originate from a matter pendi g in the U. S. Attorney's Office prior to

April 1,1999? X Yes __No_ If yes, was it pehdi

g ifthe Central Region? _ Yes __X_No

8. Did this case originate in the Narcotics- Miami? _X Yes __ No

EDWAR AN _
ASSISTA ITED STATES ATTORNEY

Florida B . A500053
*Penalty Sheet(s) attached REV.6/27/00

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

02-2058 ¢p.nogyaes

Defendant's Name: William Moran Case No:

Count #: I
MAGISTRA Tp JUnax
Fk

Failure to Appear DUBE

18 U.S.C. § 3146
10 years’ imprisonment

* Max.Penalty:

Count #: II
me RS
init. 7
*Max. Penalty: oo: =
Ty . —~< LS
Count #: III we
2 |
te ay
*Max. Penalty:
Count #: IV
*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
